 

Case 1:16-cv-02996-TCB Document 33-1 Filed 05/31/17 Page 1 of 23

SETTLEMENT AGREEMENT

This Settlement A¢:greement (hereinafter referred to as “Agreement”), is entered into by
and between Ken Williams, on behalf of himself, his heirs, executors, administrators, legal
representatives and assigns (hereinafter referred to collectively as “Ken Williams”) and Sterling
Bank Services, Inc., Nich`olas Cockett, Sterling Group, Inc., Cennox, LLC, Cennox, Inc., and
their respective present, past, and future affiliates, predecessors, heirs, successors, parents,
subsidiaries, assigns, insurers, and each and every one of their respective owners, shareholders,
servants, officers, directors, employees, agents, principals, relatives, representatives,
beneficiaries, alter egos, and attorneys (hereinafterreferred to collectively as “The Released
Parties”). Throughout this Agreement, Ken Williams and The Released Parties shall collectively
be referred to as the “Parties.” This Agreement shall not in any Way be construed as an
admission by The Released Parties of any violation of any law or any other liability including
common law liability to Ken Williams.

WHEREAS, Ken Williams Was employed by The Released Parties; and

WHEREAS, Ken Williams has alleged unlawful employment practices in violation of

federal law against The Released Parties by joining a lawsuit titled Begeman el al. v. Sterlz'ng

Bank Services, Inc., Case il\lo. 1:16-CV-02996-TCB (N.D. Ga.), allegations which the Released
Parties vehemently deny;
NOW WHEREFO:RE, in consideration of the promises and mutual covenants herein
contained, the sufficiency pf which is hereby acknowledged, the parties hereto agree as follows:
l. The Released Parties agree to pay the total amount of TWENTY EIGHT
THOUSAND TWO HUNDRED SEVENTY SIX I)OLLARS AND THIRTY NINE CENTS

($28,276.39), plus fees and costs as described below, in the manner as follows:

 

 

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A. A payroll check in the amount of $3,519.95 made payable to Ken
Williaxns representing unpaid overtime wages This amount shall be treated as wages
with the applicable;taxes and legal deductions made;

B. A check in the amount of $3,519.95 made payable to Ken Williams,
representing liquidated damages No deductions shall be made from this check and a
Form 1099 shall belissued; and

C. A check in the amount Of $21,236.49 made payable to his attorneys,
Morgan & Morgan, P.A., representing the attorney’s fees and costs for representation of
the entire collective class, which are covered between this payment and the payment
made on behalf of Eric Begeman.

2. Ken Williarps agrees that this is a disputed claim and represents that upon receipt
of the above-mentioned funds, he will have released his claim for overtime compensation under

the Fair Labor Standards Act. The Parties agree to file an appropriate motion or pleading With

the Court to dismiss Ken Williams’s claim with prejudice

3. By entering into this Agreement, no Party admits any liability, fault or
wrongdoing `
4. Ken Willianiis agrees not to apply for, solicit, seek or otherwise attempt to obtain
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or accept employment with, or to provide services in any manner to, the Released Parties. Ken

Williams further agrees that the Released Parties shall not be under any obligation to employ or
contract with him and that, should any application be made by him, the Released Parties shall not
have any obligation to proaess that application or to hire him and that the failure to process the
application or to hire him shall not constitute a violation of any local, state or federal law.

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5. Each party: shall be responsible for payment of their own attorneys’ fees and costs,
except as provided in Paragraph l.

6. Ken Willizims represents and warrants that he is authorized to enter into and that
he has the authority to perform the terms of this Agreement. Ken Williams represents and
warrants that he has not sbld, assigned, transferred, conveyed or otherwise disposed of all or any
portion of the Released Claims.

7. If any provision of this Agreernent or the application thereof to any party or
circumstances shall be determined to be invalid or unenforceable to any extent, the remainder of
this Agreernent and the application of such provisions to any other party or circumstances shall
not be affected thereby add shall be enforced to the greatest extent permitted by law.

8. This Agreement may be executed in any number of counterparts, each of which
shall be deemed to be art original, but all of Which together shall constitute one and the same
instrument Facsimile and electronic copies of the executed Agreement shall have the same
force and effect as an original copy.

9. This Agreement is binding on each of the parties and their respective heirs,
successors and assigns

10. In the event any Party breaches this Agreement, the non-breaching Party shall be
entitled to enforce all proivisions of this Agreement in Court seeking all remedies available to it
both in law and equity. "l"he prevailing Party shall be entitled to recover its attorneys’ fees and
costs incurred in any proceeding to enforce this Agreement, including all fees and costs through

all appeals

11. This Agreement shall be governed by and construed in accordance with the laws

of the State of Georgia, without regard to its choice of laws or conflict of laws principles.

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12. Except as expressly provided herein, the parties represent and warrant that in
executing this Agreement, they do not rely upon and have not relied upon any oral or written
representation, promise, warranty or understanding made by any of the parties or their
representatives with regapi to the subject matter, basis or effect of this Agreement.

13. The parties acknowledge that each party has participated in the drafting of this
Agreement and each has had an equal opportunity to participate in the drafting of this
Agreement. No ambiguity shall be construed against any party based upon a claim that the party
drafted the ambiguous language

14. The parties acknowledge and assume the risk that additional or different facts
which they believe to exist may now exist or may be discovered after this Agreement has been
entered into. The parties agree that any such additional, different or contrary facts shall in no
way limit, waive, affect oii alter this Agreement.

lS. Ken Williatris acknowledges that he has been advised to consult an attorney prior
to signing this agreementi Ken Williams understands that whether or not he consults with an
attorney is his decision lp this respect, Ken Williams has consulted with and been advised by C.
Ryan Morgan, Esquire in this matter and is satisfied that Mr. Morgan has provided him excellent
legal advice and has explained to him all of his options in connection with this Agreement.

16. This Agreeinent, consisting of five (5) pages, is freely and voluntarily entered into
by the parties. The partips acknowledge that they have read this Agreement and that they
understand the words, terms, conditions and legal significance of this Agreement. This

Agreement may be executed in counter-parts and electronic and facsimile copies shall be treated

as originals.

Case 1'16-CV-O2‘i)96-TCB Document 33-1 Filed 05/31/17 Page 5 of 23

 

 

"" INBO§ND NOTIFICATION §

FAX RECEIVED SUCCESSFULLY *“

 

 

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Sign:

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Representative of Released Parties

 

 

 

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SETTLEMENT AGREEMENT

This Settlernent tAgreement (hereinafter referred to as “Agreernent”), is entered into by
and between Curtis Williams, on behalf of himself, his heirs, executors, administrators, legal
representatives and assigns (hereinafter referred to collectively as “Curtis Williams”) and
Sterling Bank Services, lnc., Nicholas Cockett, Sterling Group, Inc., Cennox, LLC, Cennox, lnc.,
and their respective present, past, and future affiliates, predecessors, heirs, successors, parents,

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subsidiaries, assigns, insurers, and each and every one of their respective owners, shareholders
servants, officers, directors, employees, agents, principals, relatives, representatives,
beneficiaries alter egosi? and attorneys (hereinafter referred to collectively as “The Released
Parties”). Throughoutj this Agreement, Curtis Williams and the Released Parties shall
collectively be referred tb as the “Parties.” This Agreement shall not in any way be construed as
an admission by the Relpased Parties of any violation of any law or any other liability including
common law liability to fjurtis Williams.

WHEREAS, Curtis Williams was employed by the Released Parties; and

WHEREAS, Curtis Williams has alleged unlawful employment practices in violation of
federal law against the Released Parties by joining a lawsuit titled Begeman et al. v. Sterlz`ng
Bank Servz`ces, Inc., Case No. l:l6-CV-02996-'1`CB (N.D. Ga.), allegations Which the Released
Parties vehemently deny;`

NOW WHEREFORE, in consideration of the promises and mutual covenants herein
contained, the sufficiency of which is hereby acknowledged, the parties hereto agree as follows:

l. The Released Parties agree to pay the total amount of EIGHT THOUSAND
TWO HUNDRED ANP FIFTY SEVEN DOLLARS AND THIRTY THREE CENTS

($8,257.33), plus fees and costs as described below, in the manner as follows:

 

 

Case 1:16-cv-O2996-TCB Document 33-1 Filed 05/31/17 Page 7 of 23

A. Al payroll check in the amount of $4,128.67 made payable to Curtis
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Williams representing unpaid overtime wages This amount shall be treated as wages
with the applicable taxes and legal deductions made; and

B. A icheck in the amount of $4,128.66 made payable to Curtis Williams,

representing liquidated damages No deductions shall be made from this check and a

Form 1099 shall be issued.

2. Curtis Williams agrees that this is a disputed claim and represents that upon
receipt of the above-mentioned funds, he will have released his claim for overtime compensation
under the Fair Labor Standards Act. The Parties agree to file an appropriate motion or pleading

with the Court to dismissturtis Williams’s claim with prejudice

3. By entering into this Agreement, no Party admits any liability, fault or
wrongdoing.
4. Curtis Williams agrees not to apply for, solicit, seek or otherwise attempt to

obtain or accept employrpent with, or to provide services in any manner to, the Released Parties.
Curtis Williams further agrees that the Released Parties shall not be under any obligation to
employ or contract with jhim and that, should any application be made by him, the Released
Parties shall not have anyjobligation to process that application or to hire him and that the failure
to process the applicatiop or to hire him shall not constitute a violation of any local, state or
federal law. l

5. Each partypshall be responsible for payment of their own attorneys’ fees and costs,

except as provided in Paragraph l.

 

 

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6. Curtis Williams represents and warrants that he is authorized to enter into and that

he has the authority to lperform the terms of this Agreement. Curtis Williams represents and

warrants that he has not sold, assigned, transferred, conveyed or otherwise disposed of all or any
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portion of the Released ¢laims.

7. lf any provision of this Agreement or the application thereof to any party or
circumstances shall be determined to be invalid or unenforceable to any extent, the remainder of
this Agreement and the application of such provisions to any other party or circumstances shall

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not be affected thereby and shall be enforced to the greatest extent permitted by law.

8. This Agreement may be executed in any number of counterparts each of which
shall be deemed to be ap original, but all of which together shall constitute one and the same
instrument Facsimile and electronic copies of the executed Agreement shall have the same
force and effect as an original copy.

9. This Agreement is binding on each of the parties and their respective heirs,
successors and assigns

lO. ln the everpt any Party breaches this Agreement, the non-breaching Party shall be
entitled to enforce all provisions of this Agreement in Court seeking all remedies available to it
both in law and equity. l` he prevailing Party shall be entitled to recover its attorneys’ fees and
costs incurred in any proceeding to enforce this Agreement, including all fees and costs through
all appeals

ll. This Agreement shall be governed by and construed in accordance with the laws
of the State of Georgia, without regard to its choice of laws or conflict of laws principles

12. Except as expressly provided herein, the parties represent and warrant that in
executing this Agreement,; they do not rely upon and have not relied upon any oral or written

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representation, promise, warranty or understanding made by any of the parties or their
representatives with regard to the subject matter, basis or effect of this Agreement.

13. The parties acknowledge that each party has participated in the drafting of this
Agreement and each has had an equal opportunity to participate in the drafting of this
Agreement. No ambiguity shall be construed against any party based upon a claim that the party
drafted the ambiguous language

14. The parties acknowledge and assume the risk that additional or different facts
Which they believe to exist may now exist or may be discovered after this Agreement has been
entered into. The parties agree that any such additional, different or contrary facts shall in no
way limit, waive, affect of alter this Agreement.

15. Curtis Williams acknowledges that he has been advised to consult an attorney
prior to signing this agreement Curtis Williams understands that whether or not he consults with
an attorney is his decision:d In this respect, Curtis Williams has consulted with and been advised
by C. Ryan Morgan, Esquire in this matter and is satisfied that Mr. Morgan has provided him
excellent legal advice and has explained to him all of his options in connection with this
Agreement.

l6. This Agreement, consisting of five (5) pages, is freely and voluntarily entered into
by the parties The parties acknowledge that they have read this Agreement and that they
understand the words, terms conditions and legal significance of this Agreement. This

Agreement may be executed in counter-parts and electronic and facsimile copies shall be treated

as originals

[sIGNArUREs oN FoLLowiNG PAGE]

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l Curtis William`§“'

 

Date: 6 \®\£5\' \q/

 

Print Name: l\lle/<. C?>(/KQ,MH'/

Representative of Released Parties

 

 

 

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` SETTLEMENT AGREEMENT

This Settlement iAgreement (hereinafter referred to as “Agreement”), is entered into by
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and between William ‘ithitehouse, on behalf of himself, his heirs, executors, administrators
legal representatives and assigns (hereinafter referred to collectively as “William Whitehouse”)
and Sterling Bank Servijces, Inc., Nicholas Cockett, Sterling Group, lnc., Cennox, LLC, Cennox,

Inc., and their respective present, past, and future affiliates predecessors heirs, successors,
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parents, Subs1diaries, assigns insurers, and each and every one of their respective owners,
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shareholders sewantsi, officers, directors, employees, agents, principals, relatives

representatives beneficiaries alter egos, and attorneys (hereinafter referred to collectively as

l
“The Released Parties”l. Throughout this Agreement, William Whitehouse and The Released

Parties shall collectively;/ be referred to as the “Parties.” This Agreement shall not in any way be

construed as an admission by The Released Parties of any violation of any law or any other

liability including comrpon law liability to William Whitehouse.
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WHEREAS, Wipliam Whitehouse Was employed by The Released Parties; and

WHEREAS, William Whitehouse has alleged unlawful employment practices in

violation of federal law iagainst rl`he Released Parties by joining a lawsuit titled Begeman et al. v.

l
Sterling Bank Services, Inc., Case No. 1:16-CV-02996~TCB (N.D. Ga.), allegations which the

Released Parties vehemp:ntly deny;

 

NOW WHEREI;TORE, in consideration of the promises and mutual covenants herein

contained, the sufficien¢y of which is hereby acknowledged, the parties hereto agree as follows:
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l. The Released Parties agree to pay the total amount of ONE HUNDRED AND

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FIFTY EIGHT DOLllARS AND SEVENTY NINE CENTS ($158.79), plus fees and costs as

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described below, in the manner as follows:

 

 

Case 1:16-cv-O29i96-TCB Document 33-1 Filed 05/31/17 Page 12 of 23

A. bi payroll check in the amount of $79.40 made payable to William
Whitehouse representing unpaid overtime wages This amount shall be treated as wages

with the applicable taxes and legal deductions made; and
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B. A` check in the amount of $79.39 made payable to William Whitehouse,
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representing liqliiidated damages No deductions shall be made from this check and a
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Form 1099 shallpbe issued.

2. William iWhitehouse agrees that this is a disputed claim and represents that upon
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receipt of the above-mentioned funds, he will have released his claim for overtime compensation

under the Fair Labor Standards Act. The Parties agree to file an appropriate motion or pleading
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with the Court to dismiss William Whitehouse’s claim with prejudice

3. By entering into this Agreement, no Party admits any liability, fault or
wrongdoing 5
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4. William Whitehouse agrees not to apply for, solicit, seek or otherwise attempt to

obtain or accept employinent with, or to provide services in any manner to, the Released Parties.

William Whitehouse finither agrees that the Released Parties shall not be under any obligation to
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employ or contract witp him and that, should any application be made by him, the Released

Parties shall not have any obligation to process that application or to hire him and that the failure

to process the applicatipn or to hire him shall not constitute a violation of any local, state or
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federal law. j

5. Each party shall be responsible for payment of their own attorneys’ fees and costs,

except as provided in Paiagraph l.

 

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. . l . . . .
6. William lWhitehouse represents and warrants that he is authorized to enter into

and that he has the adthority to perform the terms of this Agreement. William Whitehouse

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represents and warranth that he has not sold, assigned, transferred, conveyed or otherwise

disposed of all or any portion of the Released Claims.

7. If any priovision of this Agreement or the application thereof to any party or

circumstances shall be determined to be invalid or unenforceable to any extent, the remainder of
this Agreement and the application of such provisions to any other party or circumstances shall
not be affected thereby and shall be enforced to the greatest extent permitted by law.

8. This Agreement may be executed in any number of counterparts, each of which
shall be deemed to be an original, but all of which together shall constitute one and the same
instrument Facsimile and electronic copies of the executed Agreement shall have the same
force and effect as an original copy.

9. This Agrleement is binding on each of the parties and their respective heirs,
successors and assigns l

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lO. In the evd{nt any Party breaches this Agreement, the non-breaching Party shall be

entitled to enforce all prpvisions of this Agreement in Court seeking all remedies available to it

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both in law and equity. The prevailing Party shall be entitled to recover its attorneys’ fees and

costs incurred in any proceeding to enforce this Agreement, including all fees and costs through
all appeals
11. This Agreement shall be governed by and construed in accordance with the laws
of the State of Georgia, without regard to its choice of laws or conflict of laws principles
12. Except as expressly provided herein, the parties represent and warrant that in

executing this Agreement, they do not rely upon and have not relied upon any oral or written

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Case 1:16-cv-O29©6-TCB Document 33-1 Filed 05/31/17 Page 14 of 23

representation, promisi, warranty or understanding made by any of the parties or their
representatives with regprd to the subject matter, basis or effect of this Agreement.

13. The parties acknowledge that each party has participated in the drafting of this
Agreement and each has had an equal opportunity to participate in the drafting of this
Agreement. No ambiguity shall be construed against any party based upon a claim that the party
drafted the ambiguous language

14. The parties acknowledge and assume the risk that additional or different facts
Which they believe to exist may now exist or may be discovered after this Agreement has been

entered into. The parties agree that any such additional, different or contrary facts shall in no

way limit, waive, affect pr alter this Agreement.

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attorney prior to signingi this agreement William Whitehouse understands that whether or not he

consults with an attorney is his decision. In this respect, William Whitehouse has consulted with
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15. William Whitehouse acknowledges that he has been advised to consult an

and been advised by C. Ryan Morgan, Esquire in this matter and is satisfied that Mr. Morgan has

provided him excellent llegal advice and has explained to him all of his options in connection

l6. This Agreement, consisting of five (5) pages, is freely and voluntarily entered into

with this Agreement.

by the parties The pai‘ties acknowledge that they have read this Agreement and that they

understand the words, lterms, conditions and legal significance of this Agreement. This
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Agreement may be execiited in counter-parts and electronic and facsimile copies shall be treated

as originals. l

[SIGNATURES ON FOLLOWING PAGE]

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Representative of Released Parties

 

 

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l sETrLEMENT AGREEMENT

This Settlement Agreement (hereinafter referred to as “Agreement”), is entered into by
and between Robert Vivacqua, on behalf of himselfz his heirs, executors, administrators, legal
representatives and assigns (hereinafter referred to collectively as “Robert Vivacqua”) and
Sterling Bank Services, Inc., Nicholas Cockett, Sterling Group, Inc., Cennox, LLC, Cennox, Inc.,
and their respective present, past, and future affiliates, predecessors, heirs, successors, parents,
subsidiaries, assigns, insurers, and each and every one of their respective owners, shareholders,
servants, officers, directors, employees, agents, principals, relatives, representatives,
beneficiaries, alter egos, and attorneys (hereinafter referred to collectively as “The Released
Parties”). Throughout this Agreement, Robert Vivacqua and The Released Parties shall
collectively be referred to eis the “Parties.” This Agreement shall not in any way be construed as
an admission by The Released Parties of any violation of any law or any other liability including
common law liability to Rdbert Vivacqua

WHEREAS, Robert Vivacqua was employed by The Released Parties; and

WHEREAS, Robert Vivacqua has alleged unlawful employment practices in violation of

federal law against The Released Parties by joining a lawsuit titled Begeman et al. v. Sterling

Bank Services, Inc., Case l\lo. 1:16-CV-()2996-TCB (N.D. Ga.), allegations which the Released

Parties vehemently deny; §

NOW WHEREFORE, in consideration of the promises and mutual covenants herein
contained, the sufficiency of which is hereby acknowledged, the parties hereto agree as follows:
l. The Releas<id Parties agree to pay the total amount of THREE THOUSAND
ONE HUNDRED AND§ TWENTY 'I`WO DOLLARS AND NINETY SIX CENTS

(53,122.96), plus fees and dosts as described below, in the manner as follows:

 

 

Case 1:16-cv-O2996-TCB Document 33-1 Filed 05/31/17 Page 17 of 23

A. A payroll check in the amount Of $1,561.48 made payable to Robert
Vivacqua represeniing unpaid overtime wages. This amount shall be treated as wages
with the applicablejtaxes and legal deductions made; and
B. A check in the amount of Sl,561.48 made payable to Robert Vivacqua,
representing liquidated damages No deductions shall be made from this check and a
Form 1099 sham bel issued
2. Robert Vivacqua agrees that this is a disputed claim and represents that upon
receipt of the above-mentipned funds, he will have released his claim for overtime compensation

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under the F air Labor Standards Act. The Parties agree to file an appropriate motion or pleading

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with the Court to dismiss kobert Vivacqua’s claim with prejudice

3. By entering into this Agreement, no Party admits any liability, fault or
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wrongdoing
4. Robert Vivacqua agrees not to apply for, solicit, seek or otherwise attempt to

obtain or accept emploympnt with, or to provide services in any manner to, the Released Parties.

Robert Vivacqua further agrees that the Released Parties shall not be under any obligation to
employ or contract with him and that, should any application be made by him, the Released
Parties shall not have any §obligation to process that application or to hire him and that the failure
to process the application or to hire him shall not constitute a violation of any local, state or
federal law. l

5. Each party §shall be responsible for payment of their own attorneys’ fees and costs,

except as provided in Paragraph 1.

 

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6. Robert Viv`acqua represents and Warrants that he is authorized to enter into and

that he has the authority toi perform the terms of this Agreement. Robert Vivacqua represents and
warrants that he has not sald, assigned, transferred, conveyed or otherwise disposed of all or any
portion of the Released Claims.

7. lf any provision of this Agreement or the application thereof to any party or
circumstances shall be determined to be invalid or unenforceable to any extent, the remainder of
this Agreement and the application of such provisions to any other party or circumstances Shall
not be affected thereby and shall be enforced to the greatest extent permitted by law.

8. This Agreement may be executed in any number of counterparts, each of which
shall be deemed to be an §original, but all of which together shall constitute one and the same
instrument Facsimile anii electronic copies of the executed Agreement shall have the same
force and effect as an original copy.

9. This Agreement is binding on each of the parties and their respective heirs,
successors and assigns l

lO. In the event any Party breaches this Agreement, the non-breaching Party shall be

entitled to enforce all provisions of this Agreement in Court seeking all remedies available to it

both in law and equity. T`he prevailing Party shall be entitled to recover its attomeys’ fees and

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costs incurred in any proceeding to enforce this Agreement, including all fees and costs through

all appeals `
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ll. This Agreement shall be governed by and construed in accordance with the laws

of the State of Georgia, without regard to its choice of laws or conflict of laws principles

12. Except as expressly provided herein, the parties represent and warrant that in
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executing this Agreement,j they do not rely upon and have not relied upon any oral or written

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representation, promise, yvarranty or understanding made by any of the parties or their
representatives with regard to the subject matter, basis or effect of this Agreement.

13. The partiesl acknowledge that each party has participated in the drafting of this
Agreement and each has had an equal opportunity to participate in the drafting of this
Agreement. No ambiguityi shall be construed against any party based upon a claim that the party
drafted the ambiguous language

14. The parties acknowledge and assume the risk that additional or different facts
which they believe to exist may now exist or may be discovered after this Agreement has been
entered into. The parties agree that any such additional, different or contrary facts shall in no
way limit, waive, affect or alter this Agreement.

15 . Robert Vivacqua acknowledges that he has been advised to consult an attorney
prior to signing this agreeinent. Robert Vivacqua understands that whether or not he consults
with an attorney is his deqision. In this respect, Robert Vivacqua has consulted with and been
advised by C. Ryan Morgan, Esquire in this matter and is satisfied that Mr. Morgan has provided
him excellent legal advice and has explained to him all of his options in connection with this
Agreement. `

l6. This Agreement, consisting of five (5) pages, is freely and voluntarily entered into
by the parties The parties acknowledge that they have read this Agreement and that they
understand the words, teims, conditions and legal significance of this Agreement. This
Agreement may be executed in counter-parts and electronic and facsimile copies shall be treated
as originals

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[SIGNATURES ON FOLLOWING PAGE]
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Date: {/DQ/

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Print Name; N \UC© C]<Q/<T\/

Representative of Released Parties

 

 

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` SETTLEMENT AGREEMENT
This Settlement Agreement (hereinafter referred to as “Agreement”), is entered into by
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and between Dwayne Vdrrone, on behalf of himself, his heirs executors administrators legal

representatives and assigns (hereinafter referred to collectively as “Dwayne Verrone”) and
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Sterling Bank Services, lric., Nicholas Cockett, Sterling Group, Inc., Cennox, LLC, Cennox, Inc.,
and their respective present, past, and future affiliates predecessors heirs, successors parents
subsidiaries assigns insurers and each and every one of their respective owners shareholders
servants officers dirdctors, employees agents principals relatives representatives
beneficiaries alter egos §and attorneys (hereinafter referred to collectively as “The Released

Parties”). Throughout this Agreement, Dwayne Verrone and The Released Parties shall

collectively be referred tol as the “Parties.” This Agreement shall not in any way be construed as
an admission by The Released Parties of any violation of any law or any other liability including
common law liability to dwayne Verrone

WHEREAS, Dwayne Verrone was employed by The Released Parties; and

WHEREAS, Dwayne Verrone has alleged unlawful employment practices in violation of
federal law against The Released Parties by joining a lawsuit titled Begeman et al. v. Sterling
Bank Services, Inc., CasejNo. l;lo-CV-02996-TCB (N.D. Ga.), allegations which the Released
Parties vehemently deny;

NOW WHEREFQRE, in consideration of the promises and mutual covenants herein
contained, the sufficiencyl of which is hereby acknowledged, the parties hereto agree as follows:

l. The Releasjed Parties agree to pay the total amount of FOUR THOUSAND AND
SEVENTY FIVE DOLIiARS AND SEVENTY THREE CENTS ($4,075.73), plus fees and

costs as described below, in the manner as follows:

 

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A. A qayroll check in the amount of $2,037.87 made payable to Dwayne
Verrone representihg unpaid overtime wages This amount shall be treated as wages with
the applicable taxes and legal deductions made; and
B. A check in the amount of $2,037.86 made payable to Dwayne Verrone,
representing liquidated damages No deductions shall be made from this check and a
Form 1099 shall be issued.
2. Dwayne Verrone agrees that this is a disputed claim and represents that upon
receipt of the above-mentioned funds he will have released his claim for overtime compensation

under the F air Labor Stantlards Act. The Parties agree to file an appropriate motion or pleading

with the Court to dismiss Dwayne Verrone’s claim with prejudice

3. By entering into this Agreement, no Party admits any liability, fault or
wrongdoing
4. Dwayne Verrone agrees not to apply for, solicit, seek or otherwise attempt to

obtain or accept employment with, or to provide services in any manner to, the Released Parties
Dwayne Verrone further agrees that the Released Parties shall not be under any obligation to
employ or contract with him and that, should any application be made by him, the Released

Parties shall not have any obligation to process that application or to hire him and that the failure

to process the application§ or to hire him shall not constitute a violation of any local, state or
l
federal law.

5 . Each party shall be responsible for payment of their own attomeys’ fees and costs

except as provided in Paragraph l.

 

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6. Dwayne Verrone represents and warrants that he is authorized to enter into and
that he has the authority fo perform the terms of this Agreement. Dwayne Verrone represents and
warrants that he has not sold, assigned, transferred, conveyed or otherwise disposed of all or any

portion of the Released Claims.

7. If any provision of this Agreement or the application thereof to any party or
circumstances shall be determined to be invalid or unenforceable to any extent, the remainder of
this Agreement and the application of such provisions to any other party or circumstances shall
not be affected thereby and shall be enforced to the greatest extent permitted by law.

8. This Agreement may be executed in any number of counterparts each of Which
shall be deemed to be an original, but all of which together shall constitute one and the same
instrument Facsimile and electronic copies of the executed Agreement shall have the same
force and effect as an original copy.

9. This Agreement is binding on each of the parties and their respective heirs
successors and assigns l

10. ln the everit any Party breaches this Agreement, the non-breaching Party shall be
entitled to enforce all projvisions of this Agreement in Court seeking all remedies available to it
both in law and equity. l`he prevailing Party shall be entitled to recover its attorneys’ fees and
costs incurred in any proceeding to enforce this Agreement, including all fees and costs through
all appeals

ll. This Agreement shall be governed by and construed in accordance with the laws
of the State of Georgia, without regard to its choice of laws or conflict of laws principles

12. Except as expressly provided herein, the parties represent and warrant that in

executing this Agreementl they do not rely upon and have not relied upon any oral or written

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